       MAGISTRATE JUDGE FRENSLEY COURTROOM MINUTES FOR CRIMINAL PROCEEDINGS

     U.S.A.v. k901                                                                ,No.           MAj

 ATTORNEY FOR GOVERNMENT:                 45k

 ATTORNEY FOR DEFENDANT:                  41w4mCY►14                                        AFPD           ane   Retained

 PRETRIAL SERVICES/PROBATION OFFICER: --FuW1 jKr6 —' -

INTERPRETERNEEDED?               YES             LANGUAGE/INTERPRETER:
                                          01     ❑ PRESENT       ❑ ON TELEPHONE

 M`"INITIAL A,YPEARANCE ❑ ON A SUMMONS M ARRESTED ON:
        DEYTNDANT HAS A COPY OF:
        ff     plaint ElIndictment 11 Information ElSupervised Release Pet. ❑ Other
        ~ Defendant advised of the charges and the maximum penalties
        ❑ Defendant has a copy of notice of rights
        B'Defendant advised of right to counsel                          ❑ Counsel retained
        C0 efendant sworn and/or certified under penalty of perjury and financial affidavit filed    G FPD Appointed
          Defendant advised of right to silence
        ❑ )Do&hdant advised of right to Consular notification
              ernment motion for detention
          Defendant temporarily detained                                 ❑ ICE detainer on defendant
       ❑ Defendant waived detention hearing                              ❑ Defendant reserved right to hearing in future
       ❑ Defendant to remain in Federal custody                          ❑ Defendant to be returned to State custody
       CW Defendant advised of right to preliminary hearing              ❑ Defendant waived preliminary hearing
       ❑ Defendant ordered to psychological/psychiatric evaluation
       ❑ Defendant to remain on current conditions of supervised release
       ❑ Defendant released on:
               ❑ Own recognizance with conditions of release ❑ standard ❑ special
               ❑ Appearance bond in the amount of.
               ❑ Property bond [description of property]:

        /      E] Performance bond [as set out in conditions of release]
          RULE 5 - Defendant advised of right to identity hearing        ❑ Defendant waived identity hearing
       ❑ RULE 5 - Defendant reserved right to have preliminary hearing in District of Prosecution
       ❑      E 5 - Defendant elected to have detention hearing in District of Prosecution
          RULE 5 - DEFENDANT ADVISED                 GHT TO RULE 20 TRANSFER

    RELINIINAR            ETENTION,                 +NT CONTINUED TO:               • 2T2. 2-1

❑ GRAND JURY WAIVED IN OPEN COURT                       [Defendant sworn and advised of rights by Court]

❑ ARRAIGNMENT
     ❑ Defendant acknowledges he/she has copy of Indictment/Information ❑ Court advised Def of penalties
     ❑ Defendant waives reading thereof           ❑ Indictment/Information read to defendant by Judge
     PLEA: ❑ GUILTY        ❑ NOT GUILTY           ❑ Defendant intends to plead guilty and case referred to DJ




       DATE:        1 . 0.1                            TOTAL TM:                    12- m;h4z-~
       BEGIN TIME:               2-.'31                END TIME:
       Dzgital y Recorded
              Case 3:21-mj-02679 Document 2 Filed 01/19/21 Page 1 of 1 PageID #: 2
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